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                EXHIBIT 3
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                                        1751 PINNACLE DRIVE
                                              SUITE 900
                                          TYSONS, VA 22102
                                           (202) 331-8160
                                         (202) 505-7100 Fax

                                       December 10, 2021

Eden Mckissick-Hawley
Tall Poppy, LLC
VIA Email only
edenmckissickhawley@gmail.com

      Re: Grassroots Analytics, LLC

Ms. Mckissick-Hawley:

        This Firm represents Grassroots Analytics, LLC (“Grassroots”). We are very concerned
that you have had a series of communications with Kate Barton regarding her work at Grassroots.
We have substantial evidence that, after her separation from Grassroots, she accessed confidential
Grassroots files and data without authorization, copied confidential Grassroots files and data
without authorization, emailed confidential Grassroots files and data to her personal email address
without authorization, and offered to sell and or share those confidential Grassroots files and data
with others, including True Blue Analytics and Tall Poppy LLC. We have documentary evidence
of this malfeasance, including texts and emails.

        These actions may give rise to civil and criminal liability under, inter alia, the Defend
Trade Secrets Act, 18 U.S.C. § 1832 et seq. and the Computer Fraud and Abuse Act, 18 U.S.C
§ 1030.

       Any materials and/or data, including any copies made, taken from Grassroots must be
returned immediately. If these materials and/or data are not returned to Grassroots by 9:00 A.M.
on December 13, 2021, we will assume the worst about your intentions and will proceed
accordingly.

        Grassroots jealously guards its data and information. We will pursue all legal options to
prevent the theft or unauthorized sharing of our data and information. To prevent any further
escalation of this situation, I urge you to immediately respond to this demand, and return
Grassroots’ materials and data forthwith.

                                                              Thank you,




                                                              Daniel Ward
